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 December 23, 2022

 VIA CM/ECF

 The Honorable Richard G. Andrews
 U.S. District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 North King Street
 Wilmington, DE 19801-3555
 Re: National Union Fire Insurance Co. of Pittsburgh, PA, et al., v. Boy Scouts of America &
 BSA, LLC, Case No. 22-cv-01237-RGA


 Dear Judge Andrews:
 Pursuant to the Court’s December 13, 2022 Oral Order, the parties in this consolidated appeal file
 this joint letter identifying the following proposed issues for oral argument and the proposed
 allotted time for each issue. The parties have been unable to agree on an allocation of time for the
 appeal.
 Appellants State: In light of the significance and complexity of the issues presented in this
 consolidated appeal, the Appellants (the Certain Insurers, the Allianz and Liberty Insurers, the Lujan
 Claimants and the Dumas & Vaughn Claimants) request that the Court hear oral argument on all
 of the issues on appeal, as set forth in issues 1-8 below. With the proposed time allotments,
 Appellants’ proposal is for a total hearing time of five hours.
 Appellees State: In light of the extensive briefing and the focus of the arguments, the Appellees’
 proposal is for a 3 hour and 10 minute hearing that limits oral argument to issues 1-
 3. Alternatively, Appellees suggest that the Court divide time equally between the Appellants and
 the Appellees for whatever length hearing the Court determines to be appropriate, and the parties
 will use their time as instructed by the Court or otherwise however they see fit.
 Issues on Appeal:
    1. Good Faith. This issue will be addressed by (i) the Certain Insurers, and (ii) BSA and the
       Plan Supporters. Proposed time: 30 minutes for Appellants; 30 minutes for Appellees.
    2. Assignment of Insurance Contract Rights and Obligations. This issue will be
       addressed by (i) the Certain Insurers, and (ii) BSA and the Plan Supporters. Proposed
       time: 20 minutes for Appellants; 20 minutes for Appellees.
    3. Third Party Releases and Channeling Injunctions (Subject Matter Jurisdiction,
       Statutory Authority, and Hallmarks/Master Mortgage). These issues will be addressed
       by (i) the Lujan Claimants and the Dumas & Vaughn Claimants, and (ii) BSA and the Plan
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       Supporters. Proposed time: 45 minutes for Appellants; 45 minutes for Appellees.
    4. Indirect Abuse Claims & Judgment Reduction. These issues will be addressed by (i) the
       Allianz and Liberty Insurers, and (ii) BSA and the Plan Supporters. Proposed time: 10
       minutes for Appellants; 10 minutes for Appellees.
    5. Treatment of Current and Future Claimants. These issues will be addressed by (i) the
       Dumas & Vaughn Claimants, and (ii) BSA and the Plan Supporters. Proposed
       time: 5 minutes for Appellants; 5 minutes for Appellees.
    6. The Insurance Settlements. These issues will be addressed by (i) the Lujan Claimants,
       and (ii) BSA and the Plan Supporters. Proposed time: 20 minutes for Appellants;
       20 minutes for Appellees.
    7. Automatic Stay. These issues will be addressed by (i) the Lujan Claimants and (ii) BSA
       and the Plan Supporters. Proposed time: 5 minutes for Appellants; 5 minutes for
       Appellees.
    8. Best Interests of Creditors, Classification, Equal Treatment and Plan
       Amendment. These issues will be addressed by (i) the Lujan Claimants and (ii) BSA and
       the Plan Supporters. Proposed time: 15 minutes for Appellants; 15 minutes for Appellees.
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  MORRIS, NICHOLS, ARSHT &                        FINEMAN KREKSTEIN & HARRIS PC
  TUNNELL LLP
                                                  /s/Deirdre M. Rickards              _
  /s/Derek C. Abbott                              Deirdre M. Richards (No. 4191)
  Derek C. Abbott (No. 3376)                      1300 N. King Street
  Andrew R. Remming (No. 5120)                    Wilmington, DE 19801
  Paige N. Topper (No. 6470)                      Telephone: (302) 538-8331
                                                  Email: drichards@finemanlawfirm.com
  1201 North Market Street, 16th Floor             -and-
  Wilmington, DE 19899-1347                       FORAN GLENNON PALANDECH PONZI &
  Telephone: (302) 658-9200                       RUDLOFF P.C.
  Email: dabbott@morrisnichols.com                Susan N.K. Gummow (admitted pro hac vice)
         aremming@morrisnichols.com               222 N. LaSalle St., Suite 1400
         ptopper@morrisnichols.com                Chicago, IL 60601
         tremington@morrisnichols.com             Telephone: (312) 863-5000
  -and-                                           Email: sgummow@fgppr.com
                                                   -and-
  WHITE & CASE LLP                                GIBSON, DUNN & CRUTCHER LLP
  Jessica C. Lauria (admitted pro hac vice)       Michael A. Rosenthal (admitted pro hac vice)
  Glenn M. Kurtz (admitted pro hac vice)          Mitchell A. Karlan (admitted pro hac vice)
  1221 Avenue of the Americas                     James Hallowell (admitted pro hac vice)
  New York, NY 10020                              Keith R. Martorana (admitted pro hac vice)
  Telephone: (212) 819-8200                       Seth M. Rokosky (admitted pro hac vice)
  Email: Jessica.lauria@whitecase.com             200 Park Avenue
         Gkurtz@whitecase.com                     New York, NY 10166
  -and-                                           Telephone: (212) 351-4000
  WHITE & CASE LLP                                Email: mrosenthal@gibsondunn.com
  Michael C. Andolina                             mkarlan@gibsondunn.com
  Matthew E. Linder                               jhallowell@gibsondunn.com
  Laura E. Baccash                                kmartorana@gibsondunn.com
  Blair M. Warner                                 srokosky@gibsondunn.com
  111 South Wacker Drive                          -and-
  Chicago, IL 60606                               GIBSON, DUNN & CRUTCHER LLP
  Telephone: (312) 881-5400                       Theodore J. Boutrous Jr.(admitted pro hac vice)
  Emails: mandolina@whitecase.com                 Richard Doren (admitted pro hac vice)
          mlinder@whitecase.com                   Blaine H. Evanson (admitted pro hac vice)
          laura.baccash@whitecase.com             333 South Grand Avenue
          blair.warner@whtiecase.com              Los Angeles, CA 90071
  -and-                                           Telephone: (213) 229-7000
                                                  Email: tboutrous@gibsondunn.com
                                                  rdoren@gibsondunn.com
                                                  bevanson@gibsondunn.com

                                                  Attorneys for National Union Fire Insurance
                                                  Company of Pittsburgh, PA., Lexington Insurance
                                                  Company, Landmark Insurance Company, and

                                              3
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  WHITE & CASE LLP                                   The Insurance Company of the State of
  Ronald K. Gorsich                                  Pennsylvania
  Doah Kim
  555 South Flower Street, Suite 2700                BODELL BOVE, LLC
  Los Angeles, CA 90071
  Telephone: (213) 620-7700                          /s/ Bruce W. McCullough_
  rgorsich@whitecase.com                             Bruce W. McCullough (No. 3112)
  doah.kim@whitecase.com                             1225 N. King Street, Suite 1000
                                                     P.O. Box 397
  Attorneys for the Debtors and Debtors in           Wilmington, DE 19899-0397
  Possession                                         Telephone: (302) 655-6749
                                                     Facsimile: (302) 655-6827
  TROUTMAN PEPPER HAMILTON                           Email: bmccullough@bodellbove.com
  SANDERS LLP                                        - and -
                                                     CLYDE & CO US LLP
  /s/Marcy J. McLaughlin Smith               _       Bruce D. Celebrezze (admitted pro hac vice)
  David M. Fournier (No. 2812)                       150 California Street, 15th Floor
  Marcy J. McLaughlin Smith (No. 6184)               San Francisco, CA 94111
  Hercules Plaza                                     Telephone: (415) 365-9800
  1313 Market Street                                 Facsimile: (415) 365-9801
  Suite 5100                                         Email: bruce.celebrezze@clydeco.us
  P.O. Box 1709
  Wilmington, DE 19899-1709                          Konrad R. Krebs (admitted pro hac vice)
  Telephone: 404.885.3000                            340 Mt. Kemble Avenue | Suite 300
  david.fournier@troutman.com                        Morristown, NJ 07960
  marcy.smith@troutman.com                           Telephone: (973) 210-6700
  -and-                                              Facsimile: (973) 210-6701
  PARKER, HUDSON, RAINER &                           Email: konrad.krebs@clydeco.us
  DOBBS LLP                                          – and –
  Harris B. Winsberg (pro hac vice)                  DAVID CHRISTIAN ATTORNEYS LLC
  Matthew G. Roberts (pro hac vice)                  David Christian (admitted pro hac vice)
  303 Peachtree Street NE                            105 W. Madison St., Suite 1400
  Suite 3600                                         Chicago, IL 60602
  Atlanta, GA 30308                                  Telephone: 312-282-5282
  Telephone: 404.420.4313                            Email: dchristian@dca.law
  Facsimile: 404.522.8409
  hwinsberg@phrd.com                                 Attorneys for Great American Assurance
  mroberts@phrd.com                                  Company, f/k/a Agricultural Insurance
   -and-                                             Company; Great American E&S Insurance
  McDERMOTT WILL & EMERY LLP                         Company, f/k/a Agricultural Excess and Surplus
  Margaret H. Warner (pro hac vice)                  Insurance Company; and Great American E&S
  Ryan S. Smethurst (pro hac vice)                   Insurance Company
  Alex M. Spisak (pro hac vice)
  The McDermott Building
  500 North Capitol Street, NW
  Washington, DC 20001-1531

                                                 4
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  Telephone: 202.756.8228                      SMITH, KATZENSTEIN & JENKINS LLP
  Facsimile: 202.756.8087
  mwarner@mwe.com                              /s/Kathleen M. Miller _
  rsmethurst@mwe.com                           Kathleen M. Miller (No. 2898)
  aspisak@mwe.com                              1000 West Street, Suite 501
                                               P.O. Box 410
  Attorneys for Allianz Global Risks US        Wilmington, DE 19899
  Insurance Company                            Telephone: (302) 652-8400
                                               Email: kmiller@skjlaw.com
                                               -and-
  TROUTMAN PEPPER HAMILTON                     WILEY REIN LLP
  SANDERS LLP                                  Mary E. Borja (admitted pro hac vice)
                                               Gary P. Seligman (admitted pro hac vice)
  /s/Marcy J. McLaughlin Smith         _       Ashley L. Criss (admitted pro hac vice)
  David M. Fournier (No. 2812)                 2050 M Street NW
  Marcy J. McLaughlin Smith (No. 6184)         Washington, DC 20036
  Hercules Plaza, Suite 5100                   Phone: (202) 719-7000
  1313 Market Street                           Email: mborja@wiley.law
  P.O. Box 1709                                gseligman@wiley.law
  Wilmington, DE 19899-1709                    acriss@wiley.law
  Telephone: 302.777.6500
  Facsimile: 302.421.8390                      Attorneys for General Star Indemnity Company
  david.fournier@troutman.com
  marcy.smith@troutman.com
  -and-                                        SEITZ, VAN OGTROP & GREEN, P.A
  PARKER, HUDSON, RAINER & DOBBS
  Harris B. Winsberg (pro hac vice)            /s/R. Karl Hill      _
  Matthew G. Roberts (pro hac vice)            R. Karl Hill (No. 2747)
  303 Peachtree Street NE                      222 Delaware Avenue
  Suite 3600                                   Suite 1500
  Atlanta, GA 30308                            Wilmington, DE 19801
  Telephone: 404.420.4313                      Telephone: (302) 888-0600
  Facsimile: 404.522.8409                      Email: khill@svglaw.com
  -and-                                        -and-
  BRADLEY RILEY JACOBS PC                      CHOATE, HALL & STEWART LLP
  Todd C. Jacobs (pro hac vice)                Douglas R. Gooding (pro hac vice)
  John E. Bucheit (pro hac vice)               Jonathan D. Marshall (pro hac vice)
  Paul J. Esker (pro hac vice)                 Two International Place
  500 West Madison Street                      Boston, MA 02110
  Suite 1000                                   Telephone: (617) 248-5000
  Chicago, IL 60661                            dgooding@choate.com
  Telephone: 312.281.0295                      jmarshall@choate.com
  tjacobs@bradleyriley.com
  jbucheit@bradleyriley.com                    -and-
  pesker@bradleyriley.com



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  Attorneys for National Surety Corporation and       MINTZ, LEVIN, COHN, FERRIS, GLOVSKY
  Interstate Fire & Casualty Company                  AND POPEO PC
                                                      Kim V. Marrkand (pro hac vice)
                                                      One Financial Center
  POST & SCHELL, P.C.                                 Boston, MA 02111
  /s/Paul Logan                                       Telephone: (617) 542-6000
  Paul Logan (No. 3339)                               kvmarrkand@mintz.com
  300 Delaware Avenue                                 lbstephens@mintz.com
  Suite 1380
  Wilmington, DE 19801                                Counsel to Liberty Mutual Insurance
  Phone: (302) 251-8856                               Company, The Ohio Casualty Insurance
  E-mail: plogan@postschell.com                       Company, Liberty Insurance Underwriters, Inc.
  -and-                                               and Liberty Surplus Insurance Corporation
  POST & SCHELL, P.C.
  John C. Sullivan (admitted pro hac vice)
  Kathleen K. Kerns (admitted pro hac vice)           SMITH, KATZENSTEIN & JENKINS LLP
  Four Penn Center – 13th Floor
  1600 John F. Kennedy Boulevard                      /s/Kathleen M. Miller _
  Philadelphia, PA 19103                              Kathleen M. Miller (No. 2898)
  Phone: (215) 587-1000                               1000 North West Street
  E-mail: jsullivan@postschell.com                    Suite 1501
  kkerns@postschell.com                               P.O. Box 410
  -and-                                               Wilmington, DE 19899 (courier 19801)
  IFRAH PLLC                                          302-652-8400
  George R. Calhoun (admitted pro hac vice)           -and-
  1717 Pennsylvania Ave., N.W.                        HANGLEY ARONCHICK SEGAL PUDLIN &
  Suite 650                                           SCHILLER
  Washington, DC 20006                                Ronald P. Schiller (admitted pro hac vice)
  Phone: (202) 840-8758                               Matthew A. Hamermesh (admitted pro hac vice)
  E-mail: george@ifrahlaw.com                         One Logan Square, 27th Floor
                                                      Philadelphia, PA 19103
  Attorneys for Argonaut Insurance Company            (215) 568 6200
  and Colony Insurance Company                        (215) 568 0300 facsimile
                                                      rschiller@hangley.com
                                                      mhamermesh@hangley.com
  GOLDSTEIN & MCCLINTOCK LLLP
                                                      Attorneys for Arch Insurance Company
  /s/Maria Aprile Sawczuk       _
  Maria Aprile Sawczuk (No. 3320)
  501 Silverside Road, Suite 65
  Wilmington, DE 19809
  302-444-6710
  marias@goldmclaw.com
  -and-




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  LOEB & LOEB LLP                                     SMITH, KATZENSTEIN & JENKINS LLP
  Laura McNally (admitted pro hac vice)
  Emily Stone (admitted pro hac vice)                 /s/Kathleen M. Miller _
  321 N. Clark Street, Suite 2300                     Kathleen M. Miller (No. 2898)
  Chicago, IL 60654                                   1000 West Street, Suite 1501
  312-464-3155                                        P.O. Box 410
  lmcnally@loeb.com                                   Wilmington, DE 19899 [Courier 19801]
  estone@loeb.com                                     Telephone: (302) 652-8400
                                                      Facsimile: (302) 652-8405
  Attorneys for The Continental Insurance             Email: kmiller@skjlaw.com
  Company and Columbia Casualty                       -and-
  Company                                             MOUND COTTON WOLLAN &
                                                      GREENGRASS LLP
  DILWORTH PAXSON LLP                                 Lloyd A. Gura (admitted pro hac vice)
                                                      Pamela J. Minetto (admitted pro hac vice)
  /s/Thaddeus J. Weaver                               One New York Plaza 44th Floor
  Thaddeus J. Weaver (No. 2790)                       New York, NY 10004
  704 King Street, Suite 500                          Tel: (212) 804-4282
  P.O. Box 1031                                       Email: lgura@moundcotton.com
  Wilmington, DE 19899-1031                           pminetto@moundcotton.com
  (302) 571-8867 (telephone)
  (302) 655-1480 (facsimile)                          Attorneys for Indian Harbor Insurance
  tweaver@dilworthlaw.com                             Company, on behalf of itself and as successor in
  -and-                                               interest to Catlin Specialty Insurance Company
  DILWORTH PAXSON LLP
  William E. McGrath, Jr. (pro hac vice)              JOYCE, LLC
  2 Research Way, Suite 103
  Princeton, NJ 08540                                 /s/Michael J. Joyce          _
  (609) 924-6000 (telephone)                          Michael J. Joyce, Esquire (No. 4563)
  (215) 893-8537 (facsimile)                          1225 King Street, Suite 800
  wmcgrath@dilworthlaw.com                            Wilmington, DE 19801
                                                      (302)-388-1944
  Attorneys for Munich Reinsurance America,           mjoyce@mjlawoffices.com
  Inc., formerly known as American Re-Insurance       -and-
  Company                                             COUGHLIN MIDLIGE & GARLAND, LLP
                                                      Kevin Coughlin, Esquire (pro hac vice)
                                                      Lorraine Armenti, Esquire (pro hac vice)
  WERB & SULLIVAN                                     Michael Hrinewski, Esquire (pro hac vice)
                                                      350 Mount Kemble Ave.
  /s/Brain A. Sullivan _                              PO Box 1917
  Brian A. Sullivan (No. 2098)                        Morristown, NJ 07962
  LEGAL ARTS BUILDING                                 973-267-0058 (Telephone)
  1225 N. King Street                                 973-267-6442 (Facsimile)
  Suite 600                                           larmenti@cmg.law
  Wilmington, Delaware 19801                          mhrinewski@cmg.law
  Telephone: (302) 652-1100                           - and -

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Case 1:22-cv-01237-RGA Document 115 Filed 12/23/22 Page 8 of 13 PageID #: 15671




  Facsimile: (302) 652-1111                          CARRUTHERS & ROTH, P.A.
  Email: bsullivan@werbsullivan.com                  Britton C. Lewis, Esquire (pro hac vice)
  -and-                                              John M. Flynn
  GIEGER LABORDE & LAPEROUSE                         235 N. Edgeworth St.
  LLC                                                P.O. Box 540
  John E.W. Baay II, Esq. (admitted pro hac          Greensboro, NC 27401
  vice)                                              (336) 478-1146 (Telephone)
  701 Poydras Street, Suite 4800                     (336) 478-1145 (Facsimile)
  New Orleans, LA 70139-                             bcl@crlaw.com
  Telephone: (504) 561-0400                          jmf@crlaw.com
  Facsimile: (504) 561-0100
  Email: jbaay@glllaw.com                            Counsel to Arrowood Indemnity Company
  -and-
  KIERNAN TREBACH LLP                                COZEN O’CONNOR
  William H. White Jr., Esq. (pro hac vice)
  1233 20th Street, NW, 8th Floor                    /s/Marla S. Benedek
  Washington, DC 20036                               Marla S. Benedek (No. 6638)
  Direct: 202-712-7042                               1201 N. Market Street, Suite 1001
  Fax: 202-712-7100                                  Wilmington, DE 19801
  Email: wwhite@kiernantrebach.com                   Telephone: (302) 295-2024
                                                     Facsimile: (302) 250-4498
  Attorneys for Gemini Insurance Company             Email: mbenedek@cozen.com

  MORRIS JAMES LLP                                   Counsel to Traders and Pacific Insurance
                                                     Company, Endurance American Specialty
  /s/Stephen M. Miller         _                     Insurance Company, and Endurance American
  Stephen M. Miller (No. 2610)                       Insurance Company
  Carl N. Kunz, III (No. 3201)
  500 Delaware Avenue, Suite 1500
  Wilmington, DE 19801                               REGER RIZZO & DARNALL LLP
  Telephone: (302) 888-6800
  Facsimile: (302) 571-1750                          /s/Louis J. Rizzo
  Email: smiller@morrisjames.com                     Louis J. Rizzo, Jr., Esquire (No. 3374)
  ckunz@morrisjames.com                              1521 Concord Pike, Suite 305
                                                     Brandywine Plaza West
  - and –                                            Wilmington, DE 19803
                                                     (302) 477-7100
  FOX SWIBEL LEVIN & CARROLL LLP                     Email: lrizzo@regerlaw.com
  Margaret M. Anderson, Esq. (admitted pro hac
  vice)                                              Attorney for Travelers Casualty and Surety
  Ryan T. Schultz (admitted pro hac vice)            Company, Inc. (f/k/a Aetna Casualty &
  Adam A. Hachikian (admitted pro hac vice)          Surety Company), St. Paul Surplus Lines
  Kenneth M. Thomas (admitted pro hac vice)          Insurance Company and Gulf Insurance
  200 W. Madison Street, Suite 3000                  Company
  Chicago, IL 60606
  Telephone: (312) 224-1200

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Case 1:22-cv-01237-RGA Document 115 Filed 12/23/22 Page 9 of 13 PageID #: 15672




  Facsimile: (312) 224-1201                          GELLERT SCALI BUSENKELL & BROWN
  Email: panderson@foxswibel.com                     LLC
  rschultz@foxswibel.com
  ahachikian@foxswibel.com                           /s/Charles J. Brow, III
  kthomas@foxswibel.com                              Charles J. Brown, III (No. 3368)
                                                     1201 N. Orange Street, 3rd Floor
  Counsel for Old Republic Insurance Company         Wilmington, DE 19801
                                                     Telephone: 302-425-5813
  LOIZIDES, P.A.                                     Email: cbrown@gsbblaw.com
                                                     - and –
  /s/ Christopher D. Loizides_________               DUMAS & VAUGHN, LLC
  Christopher D. Loizides (No. 3968)                 Gilion C. Dumas, Esq. (admitted pro hac vice)
  1225 North King Street, Suite 800                  Ashley L. Vaughn (admitted pro hac vice)
  Wilmington DE 19801                                3835 NE Hancock St., Ste. GL-B
  Phone: (302) 654-0248                              Portland, OR 97212
  Email: Loizides@loizides.com                       Phone: (503) 616-5007
  -and-                                              Fax: (503) 616-5007
  LUJAN & WOLFF LLP                                  Email: gilion@dumasandvaughn.com
  Delia Lujan Wolff (admitted pro hac vice)
  Suite 300, DNA Bldg.
  238 Archbishop Flores St.                          Attorneys for the D & V Claimants
  Hagatna, Guam 96910
  Phone: (671) 477-8064/5                            BIELLI & KLAUDER, LLC
  Facsimile: (671) 477-5297
  Email: dslwolff@lawguam.com                        /s/ David M. Klauder______           _
                                                     David M. Klauder, Esquire (No. 5769)
  Attorneys for Lujan Claimants                      1204 N. King Street
                                                     Wilmington, DE 19801
  PACHULSKI STANG ZIEHL                              Phone: (302) 803-4600
  & JONES LLP                                        Fax: (302) 397-2557
                                                     Email: dklauder@bk-legal.com
  /s/ James E. O’Neill_                              -and-
  Richard M. Pachulski (admitted pro hac vice)       KTBS LAW LLP
  Alan J. Kornfeld (admitted pro hac vice)           Thomas E. Patterson (admitted pro hac vice)
  Debra I. Grassgreen (admitted pro hac vice)        Daniel J. Bussel (admitted pro hac vice)
  Iain A.W. Nasatir (admitted pro hac vice)          Robert J. Pfister (admitted pro hac vice)
  James E. O’Neill (No. 4042)                        Sasha M. Gurvitz (admitted pro hac vice)
  919 North Market Street, 17th Floor                1801 Century Park East, Twenty-Sixth Floor
  P.O. Box 8705                                      Los Angeles, CA 90067
  Wilmington, DE 19899-8705 (Courier 19801)          Telephone: (310) 407-4000
  Tele/Fax: (302) 652-4100 / (302) 652-4400          Email: tpatterson@ktbslaw.com
  Email: rpachulski@pszjlaw.com                             dbussel@ktbslaw.com
  akornfeld@pszjlaw.com                                     rpfister@ktbslaw.com
  dgrassgreen@pszjlaw.com                                   sgurvitz@ktbslaw.com
  inasatir@pszjlaw.com                               Counsel to each of The Zalkin Law Firm, P.C.
  joneill@pszjlaw.com                                and Pfau Cochran Vertetis Amala PLLC

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  Counsel for the Tort Claimants’ Committee         YOUNG CONAWAY STARGATT &
                                                    TAYLOR, LLP
  MONZACK MERSKY & BROWDER, P.A.
                                                    /s/ Kenneth J. Enos__________         _
  /s/ Rachel B. Mersky_______          _            Robert S. Brady (No. 2847)
  Rachel B. Mersky (No. 2049)                       Edwin J. Harron (No. 3396)
  1201 North Orange Street, Suite 400               Kenneth J. Enos (No, 4544)
  Wilmington, DE 19801                              Ashley E. Jacobs (No. 5635)
  Telephone: (302) 656-8162                         Rodney Square
  Facsimile: (302) 656-2769                         1000 North King Street
  Email: RMersky@Monlaw.com                         Wilmington, DE 19801
  -and-                                             Telephone: (302) 571-6600
  BROWN RUDNICK LLP                                 Facsimile: (302) 571-1253
  David J. Molton, Esq. (admitted pro hac vice)     Email: rbrady@ycst.com
  Eric R. Goodman, Esq. (admitted pro hac vice)     eharron@ycst.com
  Seven Times Square                                kenos@ycst.com
  New York, NY 10036                                ajacobs@ycst.com
  Telephone: (212) 209-4800                         -and-
  Email: DMolton@BrownRudnick.com                   GILBERT LLP
  Email: EGoodman@BrownRudnick.com                  Kami E. Quinn (admitted pro hac vice )
  -and-                                             Rachel H. Jennings (admitted pro hac vice )
  Sunni P. Beville, Esq. (admitted pro hac vice)    Kyle Y. Dechant (admitted pro hac vice )
  Tristan G. Axelrod, Esq. (admitted pro hac        December L. Huddleston (admitted pro hac vice)
  vice)                                             700 Pennsylvania Ave, SE
  One Financial Center                              Suite 400
  Boston, MA 02111                                  Washington, DC 20003
  Telephone: (617) 856-8200                         Telephone: (202) 772-2200
  Email: SBeville@BrownRudnick.com                  Facsimile: (202) 772-3333
  Email: TAxelrod@BrownRudnick.com                  Email: quinnk@gilbertlegal.com
                                                    jenningsr@gilbertlegal.com
  Counsel to the Coalition of Abused Scouts for     dechantk@gilbertlegal.com
  Justice                                           huddlestond@gilbertlegal.com

                                                    Counsel to the Future Claimants’ Representative




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Case 1:22-cv-01237-RGA Document 115 Filed 12/23/22 Page 11 of 13 PageID #: 15674




  BAYARD, P.A.                                         STAMOULIS & WEINBLATT LLC

  /s/Erin R. Fay _                                     /s/ Stamatios Stamoulis______       _
  Erin R. Fay (No. 5268)                               Stamatios Stamoulis (No. 4606)
  Gregory J. Flasser (No. 6154)                        800 N. West Street, Third Floor
  600 North King Street, Suite 400                     Wilmington, DE 19081
  Wilmington, DE 19801                                 Telephone: (302) 999-1540
  Telephone: (302) 655-5000                            Email: stamoulis@swdelaw.com
  Facsimile: (302) 658-6395                            -and-
  Email: efay@bayardlaw.com                            O’MELVENY & MYERS LLP
  gflasser@bayardlaw.com                               Tancred Schiavoni (admitted pro hac vice)
  -and-                                                Times Square Tower
  RUGGERI PARKS WEINBERG LLP                           7 Times Square
  James P. Ruggeri (admitted pro hac vice )            New York, NY 10036
  Joshua D. Weinberg (admitted pro hac vice )          Telephone: (212) 326-2000
  1875 K Street, NW, Suite 600                         Email: tschiavoni@omm.com
  Washington, D.C. 20003
  Tel: (202) 469-7750                                  -and-
  Email: jrugerri@rugerrilaw.com                       O’MELVENY & MYERS LLP
  jweinberg@ruggerilaw.com                             Steve Warren (pro hac vice forthcoming)
  -and-                                                400 South Hope Street
  WILMER CUTLER PICKERING HALE AND                     Los Angeles, CA 90071
  DORR LLP                                             Telephone: (213) 430-6000
  Philip D. Anker (admitted pro hac vice)              Email: swarren@omm.com
  7 World Trade Center                                 -and-
  250 Greenwich Street                                 O’MELVENY & MYERS LLP
  New York, NY 10007                                   Johnathan D. Hacker (admitted pro hac vice)
  Telephone: (212) 230-8890                            1625 Eye Street, N.W.
  Email: philip.anker@wilmerhale.com                   Washington, D.C. 20006
  -and-                                                Telephone: (202) 383-5200
  WILMER CUTLER PICKERING HALE AND
  DORR LLP                                             Attorneys for Century Indemnity Company, as
  Joel Millar (pro hac vice forthcoming)               successor to CCI Insurance Company as
  1875 Pennsylvania Avenue N.W.                        successor to Insurance Company of North
  Washington, D.C. 20006                               America and Indemnity Insurance Company of
  Tel: (202) 663-6000                                  North America
  Email: joel.millar@wilmerhale.com
                                                       STAMOULIS & WEINBLATT LLC
  Attorneys for Hartford Accident and Indemnity
  Company, First State Insurance Company, Twin         /s/Stamatios Stamoulis ______       _
  City Fire Insurance Company, and Navigators          Stamatios Stamoulis (No. 4606)
  Specialty Insurance Company                          800 N. West Street, Third Floor
                                                       Wilmington, DE 19081
                                                       Telephone: (302) 999-1540
                                                       Email: stamoulis@swdelaw.com
                                                       -and-

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  TYBOUT, REDFEARN & PELL                            SIMPSON THACHER & BARTLETT LLP
                                                     David Elbaum (admitted pro hac vice)
  /s/Robert D. Cecil, Jr._                           425 Lexington Avenue
  Robert D. Cecil, Jr. (No. 5317)                    New York, NY 10017
  501 Carr Road, Suite 300                           Telephone: (212) 455-2000
  Wilmington, DE 19809                               Email:
  Telephone: (302) 658-6901                                 david.elbaum@stblaw.com
  Email: rcecil@trplaw.com
  -and-                                              Attorneys for Federal Insurance Company and
  CROWELL & MORING LLP                               Westchester Fire Insurance Company
  Mark D. Plevin (admitted pro hac vice)
  Kevin D. Cacabelos (admitted pro hac vice)         BALLARD SPAHR LLP
  Three Embarcadero Center, 26th Floor
  San Francisco, CA 94111                            /s/ Matthew G. Summers____         _
  Telephone: (415) 986-2800                          Matthew G. Summers (No. 5533)
  Email: mplevin@crowell.com                         Chantelle D. McClamb (No. 5978)
  kcacbelos@crowell.com                              919 N. Market Street, 11th Floor
  -and-                                              Wilmington, DE 19801-3034
  CROWELL & MORING LLP                               Telephone: (302) 252-4428
  Tacie H. Yoon (admitted pro hac vice)              Email: summersm@ballardspahr.com
  Rachel A. Jankowski (admitted pro hac vice)        mcclambc@ballardspahr.com
  1001 Pennsylvania Ave., N.W.                       -and-
  Washington, D.C. 20004                             STEPTOE & JOHNSON LLP
  Phone: (202) 624-2500                              Harry Lee (pro hac vice forthcoming)
  Email: tyoon@crowell.com                           John O’Connor (pro hac vice forthcoming)
  rjankowski@crowell.com                             1330 Connecticut Avenue NW
                                                     Washington, DC 20036
  Attorneys for Zurich Insurers and Zurich           Telephone: (202) 429-8078
  Affiliated Insurers, American Guarantee            Email: hlee@steptoe.com
  Insurance Company, and Steadfast Insurance         joconnor@steptoe.com
  Company
                                                     Attorneys for Clarendon National Company, as
  REED SMITH LLP                                     successor in interest by merger to Clarendon
                                                     America Insurance Company; River Thames
  /s/ Kurt F. Gwynne_______      _                   Insurance Company Limited (as successor in
  Kurt F. Gwynne (DE Bar No. 3951)                   interest to Unionamerica Insurance Company
  Mark W. Eckard (DE Bar No. 4542)                   Limited, on its own behalf and in turn as
  1201 Market Street, Suite 1500                     successor to St. Katherine Insurance Company
  Wilmington, DE 19801                               Limited); and Zurich American Insurance
  Telephone: (302) 778-7500                          Company, as successor to Maryland Casualty
  Facsimile: (302) 778-7575                          Company, Zurich Insurance Company, and
  Email: kgwynne@reedsmith.com                       Maryland American General Insurance
  meckard@reedsmith.com                              Company
  -and-




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  KRAMER LEVIN NAFTALIS & FRANKEL                      DLA PIPER, LLP (US)
  LLP
  Rachael Ringer (pro hac vice forthcoming)            /s/ R. Craig Martin______         _
  1177 Avenue of the Americas                          R. Craig Martin (No. 5032)
  New York, NY 10036                                   1201 North Market Street, Suite 2100
  Telephone: (212) 715-9100                            Wilmington, DE 19801-1147
  Email: rringer@kramerlevin.com                       Telephone: (302) 468-5655
                                                       Facsimile: (302) 778-7834
  Attorneys for the Creditors’ Committee               Email: craig.martin@dlapiper.com
                                                       -and-
                                                       WACHTELL, LIPTON, ROSEN & KATZ
  WOMBLE BOND DICKINSON (US) LLP                       Richard G. Mason (admitted pro hac vice)
                                                       Douglas K. Mayer (admitted pro hac vice )
  /s/Matthew P. Ward ____         _                    Joseph C. Celentino (admitted pro hac vice)
  Matthew P. Ward (No. 4471)                           Mitchell S. Levy (admitted pro hac vice )
  Morgan L. Patterson (No. 5388)                       51 West 52nd Street
  1313 North Market Street, Suite 1200                 New York, NY 10019
  Wilmington, DE 19801                                 Telephone: (212) 403-1000
  Telephone: (302) 252-4320                            Email: RGMason@wlrk.com
  Facsimile: (302) 252-4330                                    DKMayer@wlrk.com
  Email: matthew.ward@wbd-us.com                               JCCelentino@wlrk.com
  morgan.patterson@wbd-us.com                                  MSLevy@wlrk.com
  -and-
  NORTON ROSE FULBRIGHT US LLP                         Attorneys for Ad Hoc Committee of Local
  Kristian W. Gluck (pro hac vice forthcoming)         Councils of the Boy Scouts of America
  2200 Ross Avenue, Suite 3600
  Dallas, TX 75201
  Telephone: (214) 855-8000
  Email: Kristian.gluck@nortonrosefulbright.com

  Attorneys for JPMorgan Chase Bank., N.A.




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